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                                       IN THE CIRCUIT COURT OF THE STATE OF OREGON

                                                        FOR THE COUNTY OF COLUMBIA

                                                                         )
 MICHAEL RINTOUL,                                                        )                 Case No. 21CV43014
                                                                         )
                                                                         )                 SUMMONS
                        Plaintiff,
                                                                         )
                                                                         )
            vs.                                                          )
                                                                         )
 OLD DOMINION FREIGHT LINE, INC., a                                      )
 foreign corporation,                                                    )
                                                                         )
                                                                         )
                        Defendant.
                                                                         )

TO:        Defendant OLD DOMINION FREIGHT LINE, INC.

          You are hereby required to appear and defend the complaint filed against you in the above entitled action within
thirty (30) days from the date of service of this summons upon you, and in case of your failure to do so, for want thereof,
Plaintiff(s) will apply to the court for the relief demanded in the complaint.

                                               NOTICE    TO DEFENDANT:         READ THESE PAPERS CAREFlILLY!
           You must "appear" in this case or the other side will win automatically. To "appear" you must tile with the COllrta legal paper called a "motion" or
"answer." The "motion" or "answer" l11ust be given to the court clerk or administrator within 30 days along with the required filing fcc. It must be in proper form and
have proof of service on the Plaintifl's attorney or, if the Plaintifl' does not have an attorney. proof of service upon the Plaintiff.
            If yo II have questions, you should sec an attorney immediately. If you need help in I1nding an attorney. you may contact the Oregon State Bar's Lawyer
Referral Service onlme at "IV'" orcgonstatchar.org or by calling (503) 684-3763 (10 the Portland metropolitan area) or tllll-rrce elsewhere in Oregon at (800) 452-7636


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                                                                                                                        'Pi
                                                                               J }ua V. Callahan, OSB No. 110853
                                                                              t10j21 SE Sunnyside Road, Suite 300
                                                                              tfackamas, OR 97015
                                                                               Josh ua@callahanlawyer.com

STATE OF OREGON
                                             ) ss.
County of Clackamas                          )

         I, the undersigned attomey of record for the Plaintiff, certify that the foregoing is an exact and complete copy of
the original summons in the above entitled action.             /}                               I
                                                                                    !i J
                                                                                    t·
                                                                                                        I   ,I
                                                                                                              ,.
                                                                               J'        i a V. Callahan, OSB No. 110853

TO THE OFFICER OR OTHER PERSON SERVING!Js                     SUMMONS: You are hereby directed to serve a true copy
of this summons, together with a true copy of the complaint mentioned therein, upon the individual(s) or other legal
entity(ies) to whom or which this summons is directed, and to make your proof of service on the attached hereto or upon a
separate similar document which you shall attach hereto.                                ,:'}    J                .      1/.1
                                                                                    ~                  I/.           Cfi)/b-.-
                                                                               16SUiv.                Callahan, OSS No. 110853
                                                                              U




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 6
                        IN THE CIRCUIT COURT OF THE STATE OF OREGON
 7
                                       FOR COLUMBIA COUNTY
 8

 9   MICHAEL RINTOUL,                                )    Case No.: 21CV43014
                                                     )
10                  Plaintiff,                       )    COMPLAINT AND DEMAND FOR JURY
                                                     )    TRIAL
11          vs.                                      )
                                                     )    (Tort-Motor Vehicle)
12   OLD DOMINION FREIGHT LINE, INC., a              )
     foreign corporation,                            )    (Not Subject to Mandatory Arbitration)
13                                                   )
                    Defendant.                       )    Total prayer: $325,000.00
14                                                   )
                                                     )    Filing fee $594.00 per ORS 21.160(1)(c)
15                                                   )
16
            Plaintiff MICHAEL RINTOUL (hereinafter referred to as “Plaintiff”) alleges as follows:
17
                                                     1.
18
            At all times material herein, Plaintiff resided within Columbia County, Oregon
19
                                                     2.
20

21          The collision that is the subject of this action occurred in Columbia County, Oregon.

22                                                   3.

23          At all times material herein, OLD DOMINION FREIGHT LINE, INC. (hereinafter
24   “Defendant”) was a foreign corporation of the State of North Carolina that, at all relevant times,
25
     conducted regular and sustained business within Multnomah County, Oregon. Defendant is
26
     vicariously liable for the negligence of it’s employees and agents.

     Page - 1 COMPLAINT AND DEMAND FOR JURY TRIAL                                CALLAHAN LAW OFFICE
                                                                   10121 SE Sunnyside Road, Suite 300 • Clackamas, OR 97015
                                                                           Ph: (503) 432-8312 • Fax: (503) 210-7997
                                                                              Email: Joshua@callahanlawyer.com
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                                                       4.
 1

 2          At all times material herein, Defendant and Defendant’s agent was operating a freight

 3   delivery vehicle and trailer (hereinafter referred to as the “truck”).

 4                                                     5.
 5          On November 5, 2019, at approximately 4:33pm, an Old Dominion truck driven by
 6
     Antonio Sparrow was making a delivery to the business/residence of Plaintiff for his company,
 7
     Grizzly Big Bore Ammunition. Mr. Sparrow pulled headfirst into the property rather than
 8
     backing in to make his delivery as requested and complied with many times before. Following
 9
     his delivery, Mr. Sparrow began pulling further onto plaintiff’s property in an attempt to turn
10

11   around and head back out onto the road. Plaintiff instructed Mr. Sparrow to back out of the

12   property and offered to help him clear any traffic so that he would not damage plaintiff’s

13   property in his attempt to turn around in the small space. Mr. Sparrow disregarded plaintiff’s
14   instructions and began driving onto the grass causing damage. Plaintiff stopped Mr. Sparrow
15
     and stepped in front of his truck to keep him from continuing to cause damage at which time Mr.
16
     Sparrow hit the accelerator causing the truck to lurch forward striking plaintiff and injuring him.
17
                                        FIRST CLAIM FOR RELIEF
18                                             (Negligence)
19
                                                       6.
20
             A substantial factor and cause of the collision, as described in paragraph five (5) above,
21
     was the direct and foreseeable result of Defendant’s negligence in one or more of the following
22
     particulars:
23

24           a) In failing to take evasive action to avoid hitting Plaintiff;

25           b) In failing to apply the brakes to avoid hitting Plaintiff;

26           c) In failing to maintain control of his vehicle;


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                                                                    10121 SE Sunnyside Road, Suite 300 • Clackamas, OR 97015
                                                                            Ph: (503) 432-8312 • Fax: (503) 210-7997
                                                                               Email: Joshua@callahanlawyer.com
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             d) In failing to keep a proper lookout;
 1

 2           e) In driving carelessly in violation of ORS 811.135;

 3           f) In failing to exercise due care as required by ORS 811.005;

 4           g) In failing to remain at the scene of the collision, call 911 and/or render first aid;
 5           h) In failing to perform duties of a driver to injured person in violation of ORS 811.705;
 6
                    and
 7
             i) In failing to follow proper procedures, training, and protocols for deliveries.
 8
                                         SECOND CLAIM FOR RELIEF
 9                                             (Recklessness)
10                                                       7.
11
             A substantial factor and cause of the collision, as described in paragraph five (5) above,
12
     was the direct and foreseeable result of Defendant’s reckless in one or more of the following
13
     particulars:
14

15           a) In driving recklessly in violation of ORS 811.140; and

16           b) In recklessly engaging in conduct which created a substantial risk of serious physical

17                  injury to Plaintiff in violation of ORS 163.195.
18                                                       8.
19
             As a direct, proximate, and foreseeable result of the negligence and recklessness of
20
     Defendant, Plaintiff suffered injury to the muscles, nerves, tendons, ligaments, bones and soft
21
     tissues of his shoulders, knees, back and hips; decreased range of motion; and sleep disturbance;
22
     all of which injuries, and the consequences of them, are or may be permanent and have caused
23

24   him to suffer non-economic damage in the form of past pain and suffering as well as loss of

25   enjoyment of life and inability to engage in usual activities apart from gainful employment in a

26   reasonable amount to be determined by a jury at trial, but not to exceed $250,000.


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                                                                       10121 SE Sunnyside Road, Suite 300 • Clackamas, OR 97015
                                                                               Ph: (503) 432-8312 • Fax: (503) 210-7997
                                                                                  Email: Joshua@callahanlawyer.com
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                                                        9.
 1

 2          As a direct, proximate, and foreseeable result of the negligence of Defendant, Plaintiff

 3   suffered economic damages consisting of his past and future medical care expenses and damages

 4   to his property in a reasonable amount to be determined by a jury at trial, but not to exceed
 5   $75,000.
 6
                                                        10.
 7
            Plaintiff puts defendant on notice of his intent to add a claim for punitive damages with
 8
     the Court’s approval at a future date.
 9
                                                        11.
10

11          WHEREFORE, Plaintiffs pray for a judgment against Defendant as follows:

12          (1) For Plaintiff’s total economic damages in an amount to be determined by a jury at

13               trial but not to exceed $75,000
14          (2) For Plaintiff’s total non-economic damages in an amount to be determined by a jury
15
                 at trial but not to exceed $250,000;
16
            (3) For Plaintiff’s costs and disbursements incurred herein; and
17
            (4) For such other relief as the court deems just and equitable.
18

19          Dated this 4th day of November, 2021.
20                                                 By:        /s/ Joshua V. Callahan
                                                              Joshua V. Callahan, OSB No. 110853
21                                                            joshua@callahanlawyer.com
                                                              of Attorneys for Plaintiff
22
            A TRIAL BY JURY IS HEREBY DEMANDED.
23

24                                                            Joshua V. Callahan, OSB No. 110853
                                                              TRIAL ATTORNEY
25

26


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                                                                    10121 SE Sunnyside Road, Suite 300 • Clackamas, OR 97015
                                                                            Ph: (503) 432-8312 • Fax: (503) 210-7997
                                                                               Email: Joshua@callahanlawyer.com
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